      Case 1:16-cv-00861-ALC          Document 126        Filed 10/22/21     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                 Oct. 22, 2021
Commodities & Minerals Enterprise Ltd.,
                          Plaintiff,

-against-                                                   16-CV-861-ALC

CVG Ferrominera Orinoco, C.A.,                               ORDER

                              Defendant.


ANDREW L. CARTER, JR., United States District Judge:

       The Parties are hereby ORDERED to submit a joint status report to the Court on or before

November 21, 2021.

SO ORDERED.




Dated: Oct. 22, 2021
       New York, New York

                                                    ___________________________________
                                                          ANDREW L. CARTER, JR.
                                                          United States District Judge
